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UNITED STATES DISTRICT COURT l ' ' MC

WESTERN DISTRICT OF TENNESSEE ge w n
Western Division ` "

 

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UNITED STATES OF AMERICA 'i \'lf;:\¢?tii$
-vs- Case No. 2:05cr20279-Ma

RODERICK K. SMITH

 

ORDER OF TEMPORARY DETENTION
PENDING HliJARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
WEDNESDAY, AUGUST 24, 2005 at 2:30 P.M. before United States Magistrate Judge S.
Thomas Anderson in Courtroom M-3, 9"' Floor, United States Courthouse and Federal Building,
167 North Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing.

Date: Augusr 22, 2005 M

TU M. PHAM
UNITED STATES MAGISTRATE IUDGE

 

lIf` not held immediately upon defendants first appearance, the hearing may be condoned for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142({)(2).

A hearing is required whenever the conditions set forth in l 8 U.S.C. § 3142(£) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious n`sk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8185) Order of Termorary Delention

This docL ment entered on the docket s?tl compliance
with ante 55 and/or 32rm FnorP on _.E£L‘Q_§,

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20279 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

